947 F.2d 941
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ernest S. HENDRY, Jr., Plaintiff-Appellant,v.Allen E. TURNER, Defendant-Appellee.
    No. 91-1735.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 10, 1991.Decided Nov. 8, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.   Claude M. Hilton, District Judge.  (CA-91-408-A)
      Ernest S. Hendry, Jr., appellant pro se.
      Marc H. Botzin, Alexandria, Va., for appellee.
      E.D.Va.
      DISMISSED.
      Before WIDENER, SPROUSE and HAMILTON, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Ernest S. Hendry, Jr., appeals the order of the district court granting defendant's motion for summary judgment in his breach of contract action.   We dismiss the appeal for lack of jurisdiction.
    
    
      2
      Under 28 U.S.C. § 1291 (1988), this Court has jurisdiction over appeals from final orders.   A final order is one which disposes of all issues, including counterclaims, in dispute as to all parties.   It "ends the litigation on the merits and leaves nothing for the court to do but execute the judgment."   Catlin v. United States, 324 U.S. 229, 233 (1945).
    
    
      3
      As the order appealed from is not a final order, it is not appealable under 28 U.S.C. § 1291.   The district court has not directed entry of final judgment as to particular claims or parties under Fed.R.Civ.P. 54(b), nor is the order appealable under the provisions of 28 U.S.C. § 1292 (1988).   Finally, the order is not appealable as a collateral order under  Cohen v. Beneficial Indus. Loan Corp., 337 U.S. 541 (1949).
    
    
      4
      Finding no basis for appellate jurisdiction, we grant Appellee's motion and dismiss the appeal as interlocutory.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      5
      DISMISSED.
    
    